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December 8, 2020

Via ECF
Hon. Lorretta A. Preska
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007
Re:      Giuffre v. Dershowitz, No. 19-cv-3377-LAP
Dear Judge Preska:
        We represent non-party Sharon Churcher in connection with the Subpoena served on her
by Defendant Alan Dershowitz. In our letter of November 23, 2020 (ECF No. 212), we
requested that the Court hold our request for a pre-motion conference for a motion to quash in
abeyance while we conferred with the parties to determine whether the issues in the potential
motion could be narrowed or resolved. Since then, we have been actively conferring in good
faith with the parties, and have made significant progress in narrowing the issues, but have not
yet resolved all issues. Accordingly, we respectfully request that the Court continue to hold our
request for a pre-motion conference in abeyance for an additional thirty (30) days (through
January 7, 2020), to allow the parties to continue to confer. In the event the issues are resolved
or it becomes clear that a motion will still be necessary before that date, we will promptly inform
the Court.
Respectfully Submitted,
Davis Wright Tremaine LLP
/s/ Laura R. Handman
cc:      All parties (via CM/ECF)




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